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                     UNITED STATES COURT OF INTERNATIONAL TRADE



Hialeah Aluminum Supply, Inc.



                 Plaintiff,

                                                         Court No. 21-00207
                     v.

United States,

                 Defendant.




                                          COMPLAINT

        Plaintiff Hialeah Aluminum Supply, Inc. (“Hialeah”), by its undersigned counsel, hereby

brings this civil action and alleges the following against the United States, acting by and through

U.S. Customs and Border Protection (“CBP”):

                               CONTESTED DETERMINATION

        1.       This action is an appeal from CBP’s final affirmative determination of evasion of

the antidumping order A-570-967 and countervailing duty order C-570-968, covering aluminum

extrusions from the People’s Republic of China (“PRC”). CBP published the final affirmative

determination of evasion on March 18, 2021. See Admin. Review Determination in EAPA Case

No. 7348, CBP Office of Trade Regulations & Rulings (“ORR”) (Mar. 18, 2021) (“March 18,

2021 Decision”).




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                                         JURISDICTION

       2.       This action is brought pursuant to section 517(g) of the Tariff Act of 1930, as

amended by the Trade Facilitation and Trade Enforcement Act of 2015 (“EAPA”), to contest

CBP’s March 18 Decision. See 19 U.S.C. § 1517 (g).

       3.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1581(c), which provides

the Court with exclusive jurisdiction over all civil actions commenced under 19 U.S.C. § 1517.



                                           STANDING

       4.       Hialeah is a U.S. importer of aluminum extrusions subject to CBP’s evasion

investigation and therefore has standing to bring this action in accordance with 19 U.S.C. §

1517(g)(1).

       5.       As a result of CBP’s determination of evasion, Plaintiff is subject to antidumping

duties and countervailing duties, and is therefore adversely affected or aggrieved by agency action

within the meaning of section 702 of the Administrative Procedure Act, as amended, 5 U.S.C. §

702, and is entitled to commence this action pursuant to 28 U.S.C. § 2631(i).



                                          TIMELINESS

       6.       CBP’s ORR completed its administrative review and issued its final affirmative

determination of evasion on March 18, 2021.

       7.       Plaintiff is commencing this action with the concurrent filing of a summons and

complaint within 30 business days of March 18, 2021 in accordance with 19 U.S.C. § 1517(g)(1).




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                                     STATEMENT OF FACTS.


        8.       On May 26, 2011, the U.S. Department of Commerce issued an antidumping and

countervailing duty order covering aluminum extrusions from the PRC. See Aluminum Extrusions

from the People’s Republic of China: Antidumping Duty Order, 76 Fed. Reg. 30650 (May 26,

2011); Countervailing Duty Order, 76 Fed. Reg. 30653 (May 26, 2011).

        9.       On July 11, 2019, Ta Chen International Inc. (“Ta Chen”) filed an allegation with

CBP that Hialeah was transshipping Chinese-origin aluminum extrusions through the Dominican

Republic (“DR”) in order to avoid paying the antidumping and countervailing duties. On the same

date, Ta Chen filed similar or identical allegations with respect to several other U.S. importers.

        10.      On July 31, 2019, prior to initiating an investigation, or even acknowledging receipt

of an allegation, CBP conducted a site visit of the manufacturer of aluminum extrusions in the

Dominican Republic, Kingtom Alumino SRL (“Kingtom”). CBP has never provided a full and

complete copy of its report from this site visit, but rather has selectively described portions of its

report from this site visit in its various decisions.

        11.      On August 22, 2019, Ta Chen filed supplemental allegations concerning evasion

by Hialeah and other U.S. importers of aluminum extrusions purchased from Kingtom in the

Dominican Republic.

        12.      CBP acknowledged receipt of Ta Chen’s supplemental allegations on October 9,

2019.

        13.      On October 31, 2019, CBP initiated consolidated case No. 7348 with regard to

Hialeah and the other U.S. importers of aluminum extrusions that were the subject of allegations

of evasion by Ta Chen.

        14.      On February 5, 2020, CBP issued the Notice of Initiation of Investigation and

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Interim Measures to all parties to the investigation, notifying the parties of its decision to take

interim measures based upon reasonable suspicion that the importers entered covered merchandise

into the customs territory of the United States through evasion. The entries subject to the

investigation were those entered for consumption, or withdrawn from a warehouse for

consumption, from October 9, 2018, one year before receipt of the allegation, through the

pendency of the investigation.

       15.     On February 19, 2020, CBP sent a request for information (“RFI”) to Hialeah,

Kingtom and other U.S. importers subject to EAPA Inv. 7348. Hialeah responded in full to CBP’s

request on March 20, 2020 and provided all of the information in its possession with respect to its

business relations with Kingtom including details with regard to visits made by Hialeah to

Kingtom and detailed information regarding Kingtom’s production capacity information.

       16.     Kingtom and the other U.S. importers also submitted their RFI responses on March

13, 2020. In its response, Kingtom explained the production capacity of its equipment, daily

extrusion production records for its extrusion machines, and listed all of its suppliers of raw

materials and the materials they supplied. Kingtom also documented its production process from

order acknowledgement through shipment.         The other importers submitted their responses

providing substantial information about their relationships with Kingtom.

       17.     On May 22, 2020, Hialeah and importer Global Aluminum Distributor, LLC made

voluntary submissions of factual information establishing that there is no evidence to support Ta

Chen International’s allegation of trans-shipment.

       18.     On June 3, 2020, CBP issued a supplemental RFI to Kingtom, to which it timely

responded on June 17, 2020. In its supplemental RFI response, Kingtom reported its theoretical

production volumes based on the daily production records reported in its RFI response. Kingtom


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also reported its monthly export and local sales information, and further described its production

process.

       19.     On June 19, 2020 CBP issued a supplemental RFI to Hialeah to which it timely

responded.    In its supplemental RFI response, Hialeah presented detailed sales and import

documentation concerning its purchases from Hialeah.

       20.     On September 30, 2020, Hialeah, in conjunction with the other importers,

submitted legal argument to CBP.

       21.     On September 30, 2020, Kingtom submitted legal argument to CBP. CBP refused

to consider such arguments and returned the legal arguments to Kingtom.

       22.     On November 2, 2020, CBP issued its initial determination of evasion, finding that

Kingtom was able to produce aluminum extrusions in the Dominican Republic, but that Kingtom’s

failure to submit accurate information and cooperate to the best of its ability meant that CBP was

unable to determine that Kingtom actually did produce all of the aluminum extrusions it sold. CBP

therefore inferred that all merchandise imported to the United States by the Importers contained

co-mingled Chinese- and Dominican Republic-origin aluminum extrusions.

       23.     On December 16, 2020, the U.S. importers, including Hialeah, submitted a Request

for a de novo Administrative Review of the November 2, 2020 CBP determination.

       24.     On December 16, 2020 the foreign manufacturer, Kingtom submitted a request for

a de novo administrative review of the November 2, 2020 CBP determination.

       25.     On December 17, 2020, CBP rejected and refused to consider Kingtom’s request

for an Administrative Review.

       26.     On March 18, 2021, CBP issued its determination in the de novo administrative

review finding that “when looking at the totality of the circumstances regarding evidence of


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Kingtom’s actual production levels coupled with Kingtom’s affiliations with China, a finding of

evasion due to the commingling of Chinese-origin aluminum extrusions with Dominican

Republic-origin aluminum extrusions is supported by substantial evidence in the record. There is

more than a “mere scintilla” of evidence to support this finding of evasion.” In making this

determination, CBP expressly stated that it would not address the remaining arguments made by

the importers.

                                     STATEMENT OF CLAIMS
                                           COUNT ONE
        27.      The allegations of paragraphs 1 through 26 are incorporated by reference and

restated as if fully set forth herein.

        28.      The EAPA statute and implementing regulations do not provide the affected

parties the right to fully and actively participate in the proceedings and are unconstitutional and

violate the 5th Amendment Due Process Clause.

                                          COUNT TWO


        29.      The allegations of paragraphs 1 through 26 are incorporated by reference and

restated as if fully set forth herein.

        30.      An interested party participating in an agency proceeding has a due process right

to “notice and a meaningful opportunity to be heard.” PSC VSMPO-Avisma Corp. v. United

States, 688 F.3d 751, 761-62 (Fed. Cir. 2012) (quoting LaChance v. Erickson, 522 U.S. 262, 266

(1998)); see also U.S. Const. art. 5.

        31.      CBP states that the regulations it promulgated to govern investigations of evasion

claims seek “to make the proceedings under the EAPA as transparent as possible and to provide

for full participation and engagement by all parties involved in an EAPA proceeding.”


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Investigation of Claims of Evasion of Antidumping and Countervailing Duties, 81 Fed. Reg.

56,477, 56,479 (Dep’t Homeland Sec. August 22, 2016).

        32.     The adverse inferences provision, as applied by CBP, deprives the investigated

party of notice as to what information is missing and does not provide an opportunity to redress

the missing information before a final determination is reached, violating the party’s right to a

meaningful and fair proceeding.

        33.     In its regulations governing how evasion claims will be investigated, CBP only

considers the party filing the allegation and the accused importer(s) to be parties to the evasion

investigation. 19 C.F.R. § 165.1. CBP’s regulations foreclose other interested parties from fully

participating in the proceedings and unlawfully narrow the scope of participation provided for

under EAPA for “interested parties,” as defined by 19 U.S.C. § 1517(a)(6).

        34.     The statute does not preclude CBP from accepting Kingtom’s request for

 administrative review. Because CBP denied Kingtom an adequate opportunity to participate, it

 also denied Hialeah’s right to have all necessary information of record considered.

        35.     CBP’s failure to allow producer to participate deprives plaintiff of the contribution

of the party in possession of the information in the proceeding.

        36.     CBP’s decision to not allow Kingtom to participate and submit information and

argument is arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with law,

in violation of 19 U.S.C. §1517(g)(2)(B) and 5 U.S.C. § 706.

                                         COUNT THREE


        37.      The allegations of paragraphs 1 through 26 are incorporated by reference and

restated as if fully set forth herein.

        38.      At every stage of the evasion investigation, CBP refers to and relies upon

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information submitted by the alleger and information gathered by CBP in the course of its

investigation. CBP relied upon such information to support its finding of transshipment.

Despite relying on such information, CBP never provided unredacted copies of such information

to Hialeah.

       39.      CBP’s administration of the investigatory and administrative proceedings,

including its decisions not to release evidence necessary for Hialeah to raise its defenses and to

heavily redact administrative record submissions is arbitrary, capricious, an abuse of discretion,

and otherwise not in accordance with law, in violation of 19 U.S.C. § 1517(g)(2)(B) and 5 U.S.C.

§ 706.

                                         COUNT FOUR


       40.      The allegations of paragraphs 1 through 26 are incorporated by reference and

restated as if fully set forth herein.

       41.      A determination as to whether covered merchandise was entered through evasion

must be based on substantial evidence. 19 U.S.C. § 1517(c)(1)(A); 19 C.F.R. § 165.27(a).

       42.      The March 18, 2021 Decision that “when looking at the totality of the

circumstances regarding evidence of Kingtom’s actual production levels coupled with Kingtom’s

affiliations with China, a finding of evasion due to the commingling of Chinese-origin aluminum

extrusions with Dominican Republic-origin aluminum extrusions is supported by substantial

evidence in the record.” is based on an explanation that runs contrary to record evidence before

the agency and is arbitrary and capricious, and is in violation of 19 U.S.C. § 1517(g)(2)(A) and

5 U.S.C. § 706.




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                                           COUNT FIVE


      43.       The allegations of paragraphs 1 through 26 are incorporated by reference and

restated as if fully set forth herein.

      44.       CBP failed to follow its regulations in the conduct of this investigation including

failing to place certain documents on the record, assisting alleger in refining their allegation

without placing anything on the record, and conducting a site visit of Kingtom prior to initiating

the EAPA investigation. Such site visit was without statutory or regulatory authority.

      45.       An investigation conducted without due regard for the regulations is unlawful and

cannot be allowed to stand.

                                            COUNT SIX


      46.       The allegations of paragraphs 1 through 26 are incorporated by reference and

restated as if fully set forth herein.

      47.       CBP expressly stated that it would not consider certain arguments presented by

the importers in the Administrative Review process, and to the extent that it did consider such

issues, it barely addressed such issues.

      48.       CBP gave undue weight to evidence submitted by alleger and did not give proper

weight to evidence provided by importers.

      49.       The failure to consider certain arguments presented by importers and the failure to

give proper weight to the evidence submitted by all parties impermissibly tainted the results of

the investigation and rendered the underlying determinations invalid.

                                           COUNT SEVEN


      50.       The allegations of paragraphs 1 through 26 are incorporated by reference and

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 restated as if fully set forth herein.

       51.       Congress authorized CBP to initiate an investigation under EAPA only if CBP

 determines that information “reasonably suggests that covered merchandise has been entered into

 the Customs Territory of the United States through evasion.” A review of the full allegations,

 both public and confidential, demonstrates that CBP had no basis to initiate this investigation,

 that the evasion determination resulting from an improperly initiated investigation should be

 vacated, and the investigation should be terminated ab initio.

       52.      CBP’s initiation determination was thus unsupported by reasonable evidence and

was otherwise not in accordance with law.

                                          PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully requests that this Court enter judgment as

follows:

       1. Sustaining counts one through seven of Plaintiff’s Complaint;

       2. Remanding this matter to U.S. Customs and Border Protection with instructions to

             terminate this investigation and order the liquidation of entries without the addition of

             antidumping and countervailing duties; and

       3. Providing such other relief as the court may deem just and appropriate.

                                                    Respectfully submitted,

                                                   /s/ Lizbeth R. Levinson

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